     Case: 1:20-cv-07692 Document #: 14 Filed: 01/25/21 Page 1 of 1 PageID #:110

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Courtnie Patterson, et al.
                                 Plaintiff,
v.                                                  Case No.: 1:20−cv−07692
                                                    Honorable Rebecca R. Pallmeyer
Respondus, INC., et al.
                                 Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, January 25, 2021:


         MINUTE entry before the Honorable Rebecca R. Pallmeyer: Plaintiff Hinds
having voluntarily withdrawn her claims, the Clerk is directed to correct the caption to
reflect Ms. Patterson's name as that of the Plaintiff in this action. Notice mailed by judge's
staff (ntf, )




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